






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00177-CV







In re Leslie Ray Turner







ORIGINAL PROCEEDING FROM SAN SABA COUNTY






M E M O R A N D U M   O P I N I O N




Leslie Ray Turner seeks a writ of mandamus directing the judge of the 33rd District
Court to grant his motion for appointed counsel to assist him in a chapter 64 forensic DNA testing
proceeding.  We deny the petition.

Before September 1, 2003, the appointment of counsel for an indigent person
was&nbsp;mandatory under article 64.01(c).  Act of Apr. 3, 2001, 77th Leg., R.S., ch. 2, § 2, art. 64.01,
2001&nbsp;Tex. Gen. Laws 2, 3.  Mandamus was deemed the proper vehicle by which to obtain relief if
a request for appointed counsel was denied.  Winters v. Presiding Judge, 118 S.W.3d 773, 775-76
(Tex. Crim. App. 2003); Neveu v. Culver, 105 S.W.3d 641, 643 (Tex. Crim. App. 2003).

Chapter 64 was amended effective September 1, 2003.  Under article 64.01(c) as
amended, an indigent person seeking DNA testing is entitled to appointed counsel only if the trial
court finds reasonable grounds for a testing motion to be filed.  Tex. Code Crim. Proc. Ann.
art.&nbsp;64.01(c) (West Supp. 2010).  On April 1, 2011, the trial court signed an order finding that
there&nbsp;are no reasonable grounds for a testing motion in Turner's case and denying the request for
appointed&nbsp;counsel.

Because the appointment of counsel under article 64.01(c) is no longer a ministerial
act, mandamus will not lie.  In re Ludwig, 162 S.W.3d 454 Tex. App.--Waco 2005) (orig.
proceeding).  We also note that an order denying counsel is not immediately appealable.  Gutierrez
v. State, 307 S.W.3d 318, 323 (Tex. Crim. App. 2010).  Instead, Turner may raise the counsel issue
if and when his pro se request for DNA testing is denied.  Id.

The petition for writ of mandamus is denied.  See Tex. R. App. P. 52.8(a).



				__________________________________________

				Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Filed:   April 8, 2011


